                             Case 18-15121-EPK                    Doc 8         Filed 05/14/18               Page 1 of 2
CGFD15 (10/1/16)




ORDERED in the Southern District of Florida on May 14, 2018




                                                                                                  Erik P. Kimball
                                                                                                  United States Bankruptcy Judge



                                               United States Bankruptcy Court
                                                  Southern District of Florida
                                                    www.flsb.uscourts.gov
                                                                                                                  Case Number: 18−15121−EPK
                                                                                                                  Chapter: 7

In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Maurice Symonette, Kurt Marin, and Clide Ward T
2033 Linton Lake Dr #B
Delray Beach, FL 33445

EIN: 82−7101308


                                                    ORDER DISMISSING CASE
     At the time of filing of the above referenced case on April 30, 2018, the debtor was provided notice
by the court of filing requirements and the deadline(s) to correct deficiencies.

1) As of the date of this order, the debtor has failed to correct the following deficiency(ies) by the required
05/08/2018 deadline:

                     A corporation, partnership, trust or other business entity cannot file a petition on its own
                     behalf without counsel (Local Rule 9010−1(B)(1)).

                     The petition was not accompanied by a corporate ownership statement as required by
                     Bankruptcy Rule 1007(a)(1).

2) The following additional requirements remain outstanding:
                       Official Bankruptcy Form 206Sum, A Summary of Your Assets and Liabilities
                       Official Bankruptcy Form 206A/B, Schedule A/B: Property
                       Official Bankruptcy Form 206D, Schedule D: Creditors Who Hold Claims Secured by
                       Property
                       Official Bankruptcy Form 206E/F, Schedule E/F: Creditors Who Have Unsecured Claims
                       Official Bankruptcy Form 206G, Schedule G: Executory Contracts and Unexpired Leases
                       Official Bankruptcy Form 206H, Schedule H: Your Codebtors
                       Official Bankruptcy Form 106Dec, Declaration About an Individual Debtor's Schedules
                       Official Bankruptcy Form 207, Statement of Financial Affairs for Individuals Filing for
                       Bankruptcy
                          Case 18-15121-EPK               Doc 8        Filed 05/14/18   Page 2 of 2
     Because the debtor has failed to meet the deadline(s) in paragraph (1) above for the listed deficient
items, it is

ORDERED that:

 1. In accordance with 11 U.S.C. § 105(a), this case is dismissed with prejudice as to the filing of any
    bankruptcy case in any federal bankruptcy court in the United States of America by the
    above−named debtor for 180 days from entry of this order, or the expiration of any prejudice period
    set in any previous order, whichever is later.

 2. All pending motions are denied as moot.

 3. (If applicable) the trustee shall file a final report within 14 days of entry of this order.

 4. (If applicable) the debtor shall immediately pay to the Clerk, U.S. Court, Flagler Waterview Building,
    1515 N Flagler Dr, Room 801, West Palm Beach FL 33401, $0.00 for the balance of the filing fee as
    required by Local Rule 1017−2(E). Payment must be made in cash, money order or cashier's or
    "official" check. Any funds remaining with the trustee shall be applied to this balance in accordance
    with the Bankruptcy Code and Local Rule 1017−2(F), unless otherwise ordered by the court. The
    court will not entertain a motion for reconsideration of this order unless all unpaid fees are paid at the
    time the motion is filed.

 5. In accordance with Local Rule 1002−1(B), the clerk of court is directed to refuse to accept for filing
    any future voluntary petitions submitted by this debtor if the refiling violates a prior order of the court
    or if the petition is accompanied by an Application to Pay Filing Fee in Installments and filing fees
    remain due from any previous case filed by the debtor.
                                                                ###
The clerk shall serve a copy of this order on all parties of record.
